       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 1 of 21




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

JESSIE J. BARNES,

                                  Plaintiff,
                                                                  1:13-CV-0164
             v.                                                       (DJS)

DAVID A. ROCK, et al.,
                                  Defendants.


APPEARANCES:                                       OF COUNSEL:

JESSIE J. BARNES
Plaintiff Pro Se
09-B-2707
Mid-State Correctional Facility
P.O. Box 2500
Marcy, New York 13403

NIXON PEABODY LLP                                  DANIEL J. HURTEAU, ESQ.
Pro Bono Trial Counsel for Plaintiff               TRAVIS HILL, ESQ.
677 Broadway                                       SARAH L. TUFANO, ESQ.
10th Floor                                         CHRISTOPHER J. STEVENS, ESQ.
Albany, New York 12207                             VINCENT D. NGUYEN, ESQ.

HON. LETITIA JAMES                                 MELISSA A. LATINO, ESQ.
Attorney General of the State of New York          WILLIAM A. SCOTT, ESQ.
Attorney for Defendants                            STEVE NGUYEN, ESQ.
The Capitol                                        Assistant Attorneys General
Albany, New York 12224

DANIEL J. STEWART
United States Magistrate Judge




                                               1
          Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 2 of 21




                                         DECISION and ORDER

                                           I. INTRODUCTION

         This long-running civil rights case arises out of a series of use of force events that

occurred involving Plaintiff Jessie Barnes and corrections officers at the Upstate

Correctional Facility between June 15, 2010, and September 9, 2011. Dkt. No. 1, Compl.;

Dkt. No. 186, Am. Compl. According to the pleadings and proof, Plaintiff sustained

various injuries because of these incidents, including a broken leg and a partially

amputated finger. After the Complaint was originally filed on February 12, 2013, an

extensive period of discovery commenced, amendments were made, and motions

followed. As a result of Defendants’ Cross-Motion for Summary Judgment filed on April

21, 2017, Dkt. No. 485, this Court issued a Report-Recommendation and Order which

recommended granting in part and denying in part the Defendants’ Motion, Dkt. No. 590.

That Report-Recommendation was adopted by United States District Court Judge Gary

L. Sharpe on September 28, 2018. Dkt. No. 609.

         As a result of those Decisions and Orders, numerous claims remained against over

fifty Defendants. 1 First, there were claims that on six occasions – June 15, 2010, April

23, 2011, May 19, 2011, May 25, 2011, August 23, 2011, and September 9, 2011 – certain

Defendants used excessive force against Plaintiff in violation of Mr. Barnes’ rights under

the Eighth Amendment. As to each of those incidents, Plaintiff also asserted that another



1
 One Defendant, Michael Yaddow, passed away prior to trial. Dkt No. 685. His case was then severed from the
others as part of this Court’s pretrial Order. Dkt. No. 714 at p. 4. No motion was made to substitute a representative
of Defendant Yaddow within 90 days of the Notice of Death, and accordingly, the Court dismissed Plaintiff’s claims
against Defendant Yaddow on November 8, 2022. Dkt. No. 762.

                                                          2
        Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 3 of 21




group of Defendants were aware of the use of excessive force but failed to intervene to

stop it. Next, Plaintiff alleged that on several occasions Defendants retaliated against him

for exercising his constitutional right to file grievances about things he alleged were

happening at Upstate Correctional Facility in violation of his First Amendment rights.

Plaintiff also alleged that Defendant Uhler did not act as an impartial hearing officer

during certain disciplinary hearings in violation of his right to due process under the

Fourteenth Amendment. Finally, Plaintiff claimed that several Defendants were aware of

some or all of these incidents because of their supervisory positions at Upstate

Correctional Facility but failed to take action to remedy the violation of his rights and to

protect Plaintiff.

       As the case progressed, the parties consented to jurisdiction before this Magistrate

Judge. Dkt. No. 644. There were several attempts to resolve this matter prior to trial, but

those efforts were ultimately unsuccessful. See Text Minute Entries dated May 12, 2016,

July 19, 2019, & August 7, 2020. The matter was further delayed during the Covid-19

pandemic, but ultimately went to trial in September 2022. Plaintiff was appointed pro

bono counsel to assist him at trial. Dkt. Nos. 638 & 682. The trial lasted for nine days,

including three days of jury deliberations. Dkt. Nos. 783-785, 787-788. At one point

during deliberations, the jury indicated that they were deadlocked on two of the claims,

Dkt. No. 742, but ultimately returned a verdict in favor of the Defendants and against

Plaintiff Jessie Barnes. Dkt No. 746.

       Presently before the Court is a Motion by Mr. Barnes, acting pro se, requesting a

new trial pursuant to FED. R. CIV. P. 59 because of various trial errors and deficiencies

                                             3
          Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 4 of 21




that he alleges prejudiced him. Dkt. No. 760; see also Dkt. No. 772. Counsel for the

Defendants oppose the Motion for New Trial. Dkt. No. 774. Defendants have also filed

a Bill of Costs in the amount of $57,929.33. Dkt. No. 754. 2

                                          II. RULE 59 MOTION

                                     A. STANDARD OF REVIEW

         Under Rule 59(a), a court may “grant a new trial . . . for any reason for which a

new trial has heretofore been granted in an action at law in federal court,” FED. R. CIV. P.

59(a)(1)(A), “including if the verdict is against the weight of the evidence.” Raedle v.

Credit Agricole Indosuez, 670 F.3d 411, 417 (2d Cir. 2012). As the Second Circuit has

noted: “a decision is against the weight of the evidence . . . if and only if the verdict is

[1] seriously erroneous or [2] a miscarriage of justice.” Farrior v. Waterford Bd. of Educ.,

277 F.3d 633, 635 (2d Cir. 2002). On a Rule 59 motion for a new trial, the court “is free

to weigh the evidence . . . and need not view it in the light most favorable to the verdict

winner.” DLC Mgmt. Corp. v. Town of Hyde Park, 163 F.3d 124, 134 (2d Cir. 1998). “A

court considering a Rule 59 motion for a new trial must bear in mind, however, that the

court should only grant such a motion when the jury’s verdict is ‘egregious.’” Id. (quoting

Dunlap-McCuller v. Riese Org., 980 F.2d 153, 158 (2d Cir. 1992)). Although a court

“may weigh the evidence and the credibility of witnesses” when considering a Rule 59

motion, “a judge should rarely disturb a jury’s evaluation of a witness’s credibility, . . .

and may not freely substitute his or her assessment of the credibility of witnesses for that


2
 Plaintiff has filed other miscellaneous motions which, as a result of the trial and entry of judgment, are now moot.
Dkt. Nos. 664, 665, 678, & 723. Likewise, pending letter requests related to the Motions addressed by this Opinion
are also moot.

                                                         4
        Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 5 of 21




of the jury simply because the judge disagrees with the jury.” Raedle v. Credit Agricole

Indosuez, 670 F.3d at 418 (citation and internal quotation marks omitted).

                                     B. DISCUSSION

                                1. Shackling of the Plaintiff

       Plaintiff Barnes initially objects to the fact that his legs were shackled during the

trial, which he believes created prejudice against him in the eyes of the jury and mandates

a new trial. Dkt. No. 760 at pp. 3, 5, & 18. While courts should attempt to minimize the

need to do so, “[t]he trial court has discretion to order physical restraints if the court has

found those restraints necessary to maintain safety or security.” Hameed v. Mann, 57

F.3d 217, 222 (2d Cir. 1995). When it is necessary, “[t]he court must impose no greater

restraints than are necessary, and it must take steps to minimize the prejudice resulting

from the presence of the restraints.” Id.

       Mr. Barnes contends that the Court failed to hold a hearing on this issue as required

by Second Circuit precedent. As to the latter, Mr. Barnes is mistaken. Prior to the jury

being selected, the Court held a conference with all counsel regarding this very issue. Dkt.

No. 784, Transcript, at pp. 3-5. The Court solicited the input from the DOCCS security

staff who had the responsibility of maintaining control of Mr. Barnes, and their

recommendation was to have Mr. Barnes remain in leg irons but allow the handcuffs to

be removed. Id. This Court recognized that the request of the security staff was merely

advisory, and that the ultimate decision to balance court security with the interests of the

Plaintiff, rested with the Court itself. Id. The Court had already viewed videos of the

events in question and considered Plaintiff’s disciplinary history Plaintiff in connection

                                              5
          Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 6 of 21




with prior Motions. See Dkt. Nos. 435, 485, & 714. As such, the Court was intimately

familiar with the numerous undisputed incidents that Mr. Barnes has had with correctional

staff during his lengthy incarceration. These included assaults on staff, involving biting,

spitting, and threats of severe violence. See Report-Recommendation and Order at pp.

24-25; Dkt. No. 710, Defs.’ Proposed Trial Exhibits # 5, 7, 13, 24, 26, & 30. Mr. Barnes

is serving a thirty-five year to life prison sentence, and because of disciplinary problems

he has had many years of SHU confinement. Indeed, his disciplinary history was, at the

time of trial, 38 pages long. Exhibit D-26. Because of Plaintiff’s disruptive behavior, his

cell door was affixed with a fixed protective hatch cover, and at certain times during his

incarceration, when he was moved within the prison it was with the use of a retention

strap attached to his handcuffs and while being recorded. Exhibits D-18 & 20.

         On the other hand, Mr. Barnes has appeared in front of this Court on several

occasions. While some of Mr. Barnes’ written submissions have been vitriolic and

extreme, his conduct before this Judge always has been courteous, even in circumstances

where Mr. Barnes became agitated and upset. The Court also considered the fact that the

jury would be aware that Mr. Barnes was incarcerated because it was central to his claim

and would see numerous videos of Plaintiff Barnes while in custody, and at all times he

was in restraints. 3




3
  When discussing the matter of leg shackles with Mr. Barnes, Plaintiff recognized that because of the nature of his
claim, the jury would understand that he is presently incarcerated, with all that entails: “You know, that’s why I
was going to just wear my greens because it’s not secret I got life. So I ain’t got nothing to hide.” Transcript at p.
22.


                                                          6
        Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 7 of 21




       Based upon all this information, the Court concluded that to maintain order and

security in the courtroom it was appropriate to have Plaintiff’s leg restraints remain in

place, but to allow Mr. Barnes to have his hands free so that he could take notes and

communicate with his counsel. Transcript at p. 3. No objection to this proposal was

made by either side, but modifications were requested and granted. Id. at pp. 3-5, 21.

Mr. Barnes was to be seated in between two members of his counsel; the counsel table

was solid so that the jury would not be able to see Plaintiff’s legs or restraints; he was

assigned the counsel table farthest away from the jury; and Plaintiff was called into the

courtroom and placed in the witness stand prior to the jury being called in, thereby

preventing jurors from seeing Mr. Barnes walking with leg shackles on. Id. at pp. 5, 21.

Staff from the Department of Corrections and Community Supervision sat behind Mr.

Barnes during the trial. As the record generally reflects on each occasion Mr. Barnes

either took the stand, or left the courtroom, the jury was excused prior to that event. See

Transcript at pp. 137-138; 185; 200; 201; 248; 250-251; 290; 338; 361; 363; 428; 429;

466; 470; 472; 525; 580-581; 635; 690; 694; 704; 766; 798; 876; 886; 892; 934; 942;

1138; 1141; 1172; 1227-1228; & 1240. Mr. Barnes was not placed in a position where

the Jury would be able to see any leg shackles, including those times that he was on the

stand, or when he requested to leave the court room to return to his holding cell because

of the disquieting nature of the testimony, or during disputes he had with counsel.

       Under the circumstances set forth above, the Court denies Plaintiff’s request for a

new trial upon the grounds that he had non-visible leg restraints affixed during the

proceedings. See Davidson v. Riley, 44 F.3d 1118, 1122–23 (2d Cir. 1995) (“the trial court

                                            7
        Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 8 of 21




has discretion to order physical restraints on a party or witness when the court has found

those restraints to be necessary to maintain safety or security; but the court must impose

no greater restraints than are necessary, and it must take steps to minimize the prejudice

resulting from the presence of the restraints.”); see also United States v. Melendez, 2022

WL 3640449, at *5 (2d Cir. Aug. 24, 2022) (“The district court followed the proper

procedure and acted within its discretion in ordering Jones to wear concealed leg shackles

during trial after considering Jones’s disciplinary history, the severity of the sentence he

faced, and the recommendation of the U.S. Marshals Service that Jones should be

restrained.”).

                     2. Admission of Plaintiff’s Disciplinary History

       Plaintiff requests a new trial based upon the fact that “bad act” evidence was

submitted before the jury, including 25 years of his disciplinary history. Dkt. No. 760 at

pp. 1-5, 13, 28. When considering the Defendants’ in limine Motion to allow admission

of Plaintiff’s prior disciplinary history, the Court reserved, but indicated that some of the

disciplinary history may well be relevant. Dkt. No. 714, Pre-Trial Order, at pp. 3-4. As

one part of his many claims, Plaintiff asserted that the five-year SHU penalty imposed by

Defendant Uhler as a result of the August 23, 2011 incident was excessive and improper.

Am. Compl. at ¶¶ 107-112. Defendant Uhler denied the allegations and maintained that

the sentence imposing further disciplinary housing was appropriate considering Mr.

Barnes’ significant prior disciplinary history. Transcript at pp. 1056- 1057. Plaintiff also

claimed that Uhler retaliated against him with respect to his handling of Plaintiff’s

disciplinary matters. Am. Compl. at ¶ 105. Uhler also denied this claim. Transcript at

                                             8
        Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 9 of 21




pp. 1056-1057. In such a mixed motive case, the jury may well be entitled to hear not

only the hearing officer’s reasons for imposing the sentence, but also to see the related

factual information. Pretrial Order at p. 3 (“Likewise, to the extent Plaintiff’s due process

claim rests to some degree on the severity of the punishment imposed his prior

disciplinary history might well be relevant there as well.”); see also Colon v. Howard,

215 F.3d 227, 234-35 (2d Cir. 2000) (“this information was part of the reason for the

penalty that [the] Hearing Officer . . . assessed, and was relevant at least to disprove

[plaintiff’s] allegation of partiality on [defendant’s] part.”). In fact, Mr. Barnes and his

appointed counsel discussed this very issue and counsel suggested that, in light of this

fact, Mr. Barnes should consider dropping the due process claim. Dkt. No. 760 at p. 29.

Mr. Barnes did not agree to do so.

       Faced with the Court’s pretrial ruling, and the continued existence of the due

process claim, it appears that Plaintiff and his counsel made a strategic decision to address

Plaintiff’s disciplinary history up front with the jury. Transcript at p. 164 (“I got like 30

years in the box now.”). They did so in a way which attempted to bolster the argument

that the force used against Mr. Barnes during his detention at Upstate Correctional

Facility was based upon corrections officers’ dislike of him and because they considered

him to be a problem inmate. Transcript at pp. 709-710 (Mr. Barnes “[had] the reputation

of a troublemaker or a rabble-rouser.”). Accordingly, Plaintiff’s counsel argued that the

force used in Mr. Barnes’ case was done maliciously and sadistically. This was an

argument that was dove tailed into Attorney Travis Hill’s closing. See Transcript at pp.

1190 (“And during his time at Upstate, and you’ve heard the testimony from many of the

                                             9
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 10 of 21




officers that they didn’t like Mr. Barnes, that he was a problem inmate.”); Tr. at pp. 1205

(“he had a reputation as being difficult, and these officers knew it, and they were

retaliating against him.”).

       Defense counsel did stipulate to the admission of a printout of Plaintiff’s

disciplinary history (Exhibit D-26) which, as noted above, was quite lengthy. Plaintiff

himself was upset by this fact:

       THE PLAINTIFF: That’s a bit extreme. It’s from different [DIN] numbers.
       There is absolutely -- you know, because when they asked me the questions
       about me having assaults, I said that it happened. I don’t know if it was five.
       I had admitted that incident had occurred, that I had assaulted somebody.
       So the jury know that. They knew that. When I was on the stand, I admitted
       that I had bit a man. They see that. So they wouldn’t need to go through a
       laundry list of stuff that happened 25 years ago and draw these prejudicial
       inferences against me about something that happened in 2000 that had
       absolutely nothing to do with the incident that hadn’t yet occurred in 2010
       and 11. That wouldn’t make sense, sir. That would be very, very, very
       prejudicial to me.

       THE COURT: I certainly do understand your argument with regard to the
       prejudicial nature of the entire disciplinary history going in.

Transcript. at p. 471.

       Prior to the disciplinary history being shown to the jury as a Joint Exhibit, the

Court heard, and granted, the request of Plaintiff’s counsel to withdraw their stipulation

upon the grounds that the disciplinary history, in total, was unduly prejudicial. Transcript

at pp. 694-695. Plaintiff requested that the portion of the disciplinary history admitted be

limited to the time he was housed at Upstate Correctional Facility from late 2009 until

2012 at the latest. Id. The Court granted that Motion despite the prior stipulation, and

agreed to a redacted disciplinary history that included only discipline from September 5,


                                             10
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 11 of 21




2009 to September 23, 2011. Transcript at pp. 701-704. This was history that would

have been considered by Defendant Uhler in assessing an appropriate penalty for Mr.

Barnes’ misconduct and would also be relevant to the issue of damages. Id.

       Therefore, Plaintiff’s argument for a new trial upon the grounds that his counsel

stipulated to the admission of 25 years of “bad act” disciplinary history, is simply

misplaced. The record reflects that any such stipulation was withdrawn, and the Court

granted Plaintiff’s request to limit the time period for the admission of prior discipline.

This was all completed prior to Exhibit D-26 being presented at trial.

       Plaintiff’s other arguments concerning exhibits, which videos were played and

when, the decision to not present a rebuttal case, and the decision not to attempt to

introduce the Amended Complaint as evidence, have all been considered by the Court but

do not warrant the granting of a new trial, as they did not affect substantial justice. Toliver

v. New York City Dep’t of Corr., 202 F. Supp. 3d 328, 341 (S.D.N.Y. 2016) (“With respect

to strategic and tactical decisions concerning the conduct of trials, including decisions

regarding which evidence to introduce, parties are deemed to repose decision-making

authority in their lawyers. Even assuming, arguendo, that Plaintiff’s lawyers did not, for

whatever reason, carry out Plaintiff’s wishes, none of the errors alleged by Plaintiff

remotely threatened a miscarriage of justice or a seriously erroneous outcome, the usual

bases for a new trial. The Court concludes that whatever complaints Plaintiff might have

regarding his counsel’s performance, neither a new trial nor alteration of the judgment is

an appropriate remedy for those complaints. Accordingly, the Court denies Plaintiff’s

motion pursuant to Rule 59.”) (internal quotations, alterations, and citations omitted).

                                              11
           Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 12 of 21




                                              3. Rule 50 Rulings

           Plaintiff also seeks a new trial based upon this Court’s dismissal of certain claims

and/or Defendants in response to defense counsel’s Rule 50 Motion at the close of

Plaintiff’s proof. Particularly egregious, in Mr. Barnes’s view, was the Court’s dismissal

of supervisory liability claims against Superintendent David Rock and Deputy

Superintendent Donald Uhler. 4                 While various arguments and assertions against

Defendants Rock and Uhler had been presented in the pleadings, and in connection with

the pretrial filings, the testimony at trial in support of these claims was thin. Plaintiff

testified that, as to Defendant Uhler, after the August 23 incident he spoke with the

Deputy Superintendent outside his cell. “I guess I told him what they had did to me.”

Transcript at p. 220. As to Superintendent Rock, it was the testimony of Plaintiff that

Rock was in the position to receive grievances, and that Plaintiff had in fact sent a

complaint to him about Defendants Derouchie and Woods. Transcript at pp. 166 & 169.

Pursuant to procedure, the Superintendent would normally assign the matter to the Deputy

Superintendent to investigate. Transcript at pp. 140, 141, & 166.

           In opposition to Defendants’ Rule 50 Motion, Plaintiff’s counsel argued that Rock

and Uhler were notified of misconduct by corrections officers, but despite their positions,

they failed to protect the Plaintiff. Transcript at pp. 349-350. There was no specific

evidence of what was done with any particular grievance; whom the Superintendent

would have assigned to investigate a filed grievance by Barnes; what any such



4
    A separate due process claim against Defendant Uhler was allowed to proceed.

                                                        12
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 13 of 21




investigation disclosed; or what was reported back to the Superintendent or Deputy

Superintendent. Plaintiff himself was not aware of this information. See Transcript at

pp. 167-168. Nor was it shown how the need for any different investigation could be

causally related to the Plaintiff’s claims.        For example, when Plaintiff spoke with

Defendant Uhler, the August 23, 2011 event had already occurred. In sum, no non-

conclusory evidence was presented in Plaintiff’s case about what the Superintendent or

Deputy Superintendent actually knew, or how they acted or failed to act with either

deliberate indifference to a serious risk of harm, or how they authorized force be used

maliciously or sadistically.

       In 2020, the Second Circuit clarified that to establish liability against a correctional

official, a plaintiff must prove that the defendant was personally involved in a

constitutional violation and not simply that, in his or her supervisory position, it was

possible that his supervision was, for example, grossly negligent. Tangreti v. Bachmann,

983 F.3d 609, 618 (2d Cir. 2020) (“We join these circuits in holding that after Iqbal, there

is no special rule for supervisory liability. Instead, a plaintiff must plead and prove ‘that

each Government-official defendant, through the official’s own individual actions, has

violated the Constitution.’”) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)).

“Accordingly, for deliberate-indifference claims under the Eighth Amendment against a

prison supervisor, the plaintiff must plead and prove that the supervisor had subjective

knowledge of a substantial risk of serious harm to an inmate and disregarded it.” Id. at

616. This standard of proof was not met at trial, and therefore granting of the Rule 50

Motion on these claims was appropriate.

                                              13
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 14 of 21




       As part of the Rule 50 Motion, the Court also granted dismissal of certain claims

against some Defendants, and dismissed all claims against Defendants Boyd, Currier, A.

Johnson, Keating, and Tuper. See Transcript at pp. 362-363; Dkt. No. 747. Plaintiff

complains about the dismissal of retaliation claims against B. Clark., G. Gettman, and T.

Ramsdell. Dkt. No. 760 at pp. 47-48. The Court did dismiss the retaliation claims against

Gettmann arising out of the August 23, 2011 incident because the grievance that the

Plaintiff wrote and relied upon in support of the retaliation claim, was not received until

after that date, see Transcript at pp. 208-211, 353, & 362. The Court also dismissed the

retaliation claims against Defendant B. Clark and Defendant Ramsdell relating to the

September 9, 2011 finger amputation incident, Transcript at p. 363, as there was no

admissible evidence of retaliatory intent for that incident offered at trial.

                              4. Ineffective Assistance of Counsel

       A substantial portion of Plaintiff’s request for a new trial is predicated upon the

argument that his appointed counsel were ineffective. See Dkt No. 760 at pp. 28, 30, &

38. In support of that assertion, Plaintiff cites to the Sixth Amendment of the United

States Constitution.    Id.     The Sixth Amendment provides that “[i]n all criminal

prosecutions, the accused shall enjoy the right ... to have the Assistance of Counsel for

his defence.” The most direct answer to Plaintiff’s argument presented in this Motion,

therefore, is from the Second Circuit itself: “To the extent that [Plaintiff] argues that the

judgment should be reversed because [his] first attorney was ineffective, this argument is

meritless because, ‘except when faced with the prospect of imprisonment, a litigant has

no legal right to counsel in civil cases’ -- and, by extension, no right to effective counsel.

                                              14
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 15 of 21




Cousar v. New York-Presbyterian Queens, 845 F. App’x 34, 37 n.2 (2d Cir.), cert. denied,

142 S. Ct. 412 (2021); see also Singh v. Home Depot U.S.A., Inc., 580 F. App’x 24, 25

(2d Cir. 2014) (“a lawyer’s purported shortcomings present no cognizable ground for

relief in a civil matter, where the Sixth Amendment right to counsel does not apply.”);

Espaillat v. Cont’l Express, Inc., 33 F. App’x 567, 568–69 (2d Cir. 2002) (“Ineffective

assistance of counsel is not a proper ground for relief in a civil matter.”).

       Even if the Court found it appropriate to apply the effective assistance of counsel

test applicable in criminal cases, the members of the Nixon Peabody team far surpassed

that standard. “To establish ineffective assistance of counsel ‘a defendant must show both

deficient performance by counsel and prejudice.’” Premo v. Moore, 562 U.S. 115, 121

(2011) (quoting Knowles v. Mirzayance, 556 U.S. 111, 122 (2009)).                 Deficient

performance requires a showing that “counsel’s representation fell below an objective

standard of reasonableness.” Strickland v. Washington, 466 U.S. 668, 688 (1984). “A

court considering a claim of ineffective assistance must apply a ‘strong presumption’ that

counsel’s representation was within the ‘wide range’ of reasonable professional

assistance.” Harrington v. Richter, 562 U.S. 86, 104 (2011) (quoting Strickland v.

Washington, 466 U.S. at 689). Establishing prejudice requires Petitioner to show “a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.” Strickland v. Washington, 466 U.S. at 694. The

Strickland test imposes a “high bar.” Padilla v. Kentucky, 559 U.S. 356, 371 (2010).

       In the Court’s view, the Plaintiff was substantially aided in the presentation of his

claims by highly competent trial counsel. Because of the number of discrete events at

                                             15
         Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 16 of 21




issue, and the vast breadth of Plaintiff’s pro se Complaint, representing Mr. Barnes in this

matter was always going to be a substantial task. Throughout the course of litigation, the

Court has attempted to assist Mr. Barnes to navigate through the discovery process and

had previously appointed counsel for him to consider a settlement proposal. Dkt No. 619.

Mr. Barnes complained bitterly regarding that counsel’s assistance. See Dkt. Nos. 620 &

621. Next, the Court appointed Adam Shaw, a partner in the law firm of Boies, Schiller

& Flexner LLP, with years of litigation experience, to represent Mr. Barnes at trial. Dkt.

No. 638. Mr. Barnes relationship with that counsel went quickly downhill, and he made

numerous requests to have that counsel terminated. Dkt. Nos. 646, 649, 650, & 651.

         It is against this backdrop that the Court appointed Daniel Hurteau of Nixon

Peabody, a very experienced trial attorney, to represent Mr. Barnes. Mr. Hurteau worked

tirelessly to advance a compelling and comprehensive case. As a partner with Nixon

Peabody, Mr. Hurteau utilized numerous attorneys in the firm throughout the state to

assist him. The lawyers effectively prepared for trial by submitting comprehensive

pretrial submissions. When it was discovered that Mr. Barnes’ daughter might have

numerous relevant documents in her possession that Plaintiff had sent to her throughout

the years, counsel arranged to obtain the evidence and review it. See Dkt. No. 688.

During trial, the attorneys from Nixon Peabody coordinated with Plaintiff Barnes to make

the process go smoothly, even to the point of buying Mr. Barnes lunch every day so that

he would feel confident in the food he was provided while he was in custody. 5 Mr.


5
  This conduct by counsel, observed by the Court, stands in stark contradiction to the Plaintiff’s present assertion
that his appointed attorneys showed little or no regard for him as a human being.

                                                         16
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 17 of 21




Hurteau’s team presented gripping opening and closing statements; effectively cross-

examined the substantive witnesses; raised appropriate objections; utilized the time

before the jury in a considerate and effective manner; and, in short, provided stellar

representation. While the end result was not the one that Mr. Barnes had hoped for, or

felt that he deserved, it was a close case and the jury obviously struggled for days and

hours with many aspects of his claims. Mr. Barnes had a full and fair opportunity to

present himself and his claims to that impartial body.

       Mr. Barnes’ claims that his counsel was ineffective at trial are not supported for

several reasons. Initially, Mr. Barnes maintains that Mr. Hurteau was somehow biased

against him because he was born at Alice Hyde Medical Center in Malone, New York.

Dkt. No. 760 at pp. 1 & 38. Although not specifically stated, it appears that Mr. Barnes

is implying that because his appointed counsel was born in upstate New York, he must

have been conspiring and collaborating with the Defendant corrections officers who also

may have been born in upstate New York. Mr. Barnes demanded that Mr. Hurteau

identify who his friends were, and it appears that Mr. Hurteau rightfully declined to do

so. Dkt. No. 760 at p. 12. None of this rank speculation by Plaintiff establishes any

impropriety on the part of pro bono counsel, and indeed counsel’s spirited representation

of Mr. Barnes throughout the course of the case belies this very assertion.

       Plaintiff asserts that counsel was deficient because he did not seek to introduce the

Plaintiff’s Amended Complaint as evidence. The Court would not likely have allowed

such an exhibit to be received if offered by Plaintiff. First, the admission of such a

pleading would cause substantial confusion, and possibly prejudice to the Plaintiff, as the

                                            17
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 18 of 21




Amended Complaint contained numerous claims and defendants that were no longer in

the case at the time of trial, which would have to be explained to the jury. In addition, all

the statements and legal assertions from Plaintiff contained in the pro se pleading that he

intended on using, would be inadmissible hearsay. While Plaintiff’s statements in the

pleading could be used by defense counsel to impeach the Plaintiff himself, Bermudez v.

City of New York, 2019 WL 136633, at *16 (E.D.N.Y. Jan. 8, 2019), they were not

admissible simply to bolster Plaintiff’s in-court testimony, or to fill in evidentiary holes

in the case that may have existed.

       Plaintiff’s remaining claims are similarly unavailing. Plaintiff objects to the fact

that his counsel refused to admit as evidence the video tape of the August 23, 2011 event.

See Dkt. No. 760 at p. 34. In fact, that tape was admitted during the trial, Transcript at

pp. 1069-1070, 1139, and the Jury viewed it again during their deliberations, Transcript

at p. 1214.

       Whether to offer a rebuttal case was within the discretion of the trial attorney,

United States v. Nersesian, 824 F.2d 1294, 1321 (2d Cir. 1987), and there is no showing

by Plaintiff that anything that could have been submitted in rebuttal would have changed

the outcome of the case.

       Finally, Plaintiff asserts that the transcripts of his Tier III Disciplinary Hearings,

D-48, should not have been admitted at trial. Dkt. No. 760 at p. 29. At one point Plaintiff

asserted that these records were inadmissible because they were not signed. Transcript at

pp. 891 & 935. However, Defendant Uhler specifically testified that he had reviewed the

transcripts, and that they were fair and accurate. Transcript at pp. 1045-1050. The

                                             18
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 19 of 21




transcripts reflected evidence that was clearly relevant to Plaintiff’s claims, in particular

when and in what manner Plaintiff was removed or left the disciplinary hearings that

related to the August 23, 2011, and September 9, 2011, incidents. See Transcript at pp.

1055-1059; Exhibit D-48 at p. 747.

       In sum, none of Plaintiff’s arguments - whether taken singly or in combination -

raises a possibility that the jury verdict in this case was “seriously erroneous” or a

“miscarriage of justice.” Farrior v. Waterford Bd. of Educ., 277 F.3d 633, 635 (2d Cir.

2002). The Court therefore denies Plaintiff’s motion for a new trial.

                                   III. BILL OF COSTS

       As a result of the favorable verdict, Defendants seek $1,421.20 in transcript costs,

as well as $56,508.13 for witness fees and lodging, for a total of $57,929.33. Dkt. No

754. Plaintiff concedes that he owes that amount for transcripts, but objects to the

remaining costs as excessive. Dkt. No. 765.

       Federal Rule of Civil Procedure 54(d)(1) states in relevant part that, “[u]nless a

federal statute, these rules, or a court order provides otherwise, costs . . . should be allowed

to the prevailing party.” “[T]he Supreme Court has held that the term ‘costs’ includes

only the specific items enumerated in 28 U.S.C. § 1920.” Whitfield v. Scully, 241 F.3d

264, 269 (2d Cir. 2001), abrogated on other grounds by Bruce v. Samuels, 577 U.S. 82

(2016). Section 1920 provides that the following costs are taxable: (1) fees of the clerk

and marshal; (2) fees for transcripts “necessarily obtained for use in the case”; (3) fees

for printing and witnesses; (4) fees for exemplification and copying costs “where the

copies are necessarily obtained for use in the case”; (5) docketing fees under 28 U.S.C. §

                                              19
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 20 of 21




1923; and (6) fees for court-appointed experts and interpreters. 28 U.S.C. § 1920. “The

burden is on the prevailing party to establish to the court’s satisfaction that the taxation

of costs is justified.” Cohen v. Bank of N.Y. Mellon Corp., 2014 WL 1652229, at *1

(S.D.N.Y. Apr. 24, 2014) (quoting John G. v. Bd. of Educ., 891 F. Supp. 122, 123

(S.D.N.Y. 1995)). “[B]ecause Rule 54(d) allows costs ‘as of course,’ such an award

against the losing party is the normal rule obtaining in civil litigation, not an exception.”

Whitfield v. Scully, 241 F.3d at 270 (internal quotation omitted).

       Under the Prison Litigation Reform Act, courts have the authority to assess costs

against an indigent prisoner. See 28 U.S.C. § 1915(f)(2)(A) & (B). This authority lies

within the discretion of the trial judge. See 28 U.S.C. § 1915(f)(2)(A) (“If the judgment

against a prisoner includes the payment of costs under this subsection, the prisoner shall

be required to pay the full amount of the costs ordered.”); see also Keesh v. Smith, 2008

WL 2242622, at *3 (N.D.N.Y. May 29, 2008) (“[D]istrict courts retain discretion to limit

or deny costs based on indigency.”).

       “[T]he discretionary imposition of costs should be informed by any factor the court

deems relevant, including the purpose of the in forma pauperis statute, the history of the

party as litigator, good faith and the actual dollars involved.” Feliciano v. Selsky, 205

F.3d 568, 572 (2d Cir. 2000) (internal quotation omitted). As to indigency, “[c]ourts in

this circuit typically only deny costs based on indigency for plaintiffs who are

unemployed or make just pennies an hour working in correctional facilities.” Rowell v.

City of New York, 2022 WL 627762, at *1 (S.D.N.Y. Mar. 3, 2022).



                                             20
       Case 9:13-cv-00164-DJS Document 790 Filed 04/04/23 Page 21 of 21




       Mr. Barnes is clearly indigent, and while the Plaintiff has a significant history of

litigation, the Court feels that this case was pursued in good faith and was premised upon

serious injuries that Mr. Barnes sustained while in custody. As a result, and in an exercise

of discretion, the Court limits the award of costs simply to the transcript fees.

                                   IV. CONCLUSION

       WHEREFORE, it is hereby

       ORDERED, that Plaintiff’s Motion for a New Trial (Dkt. Nos. 760) is DENIED;

and it is further

       ORDERED, that Plaintiff’s Motions (Dkt. Nos. 664, 665, 678, 723, 753, & 757)

are DENIED as moot; and it is further

       ORDERED, that Defendants’ Motion for a Bill of Costs (Dkt. No. 754) is

GRANTED in the amount of $1,421.20 and is otherwise DENIED, and it is further

       ORDERED, that the Clerk of the Court serve a copy of this Decision and Order

upon the parties to this action.

       IT IS SO ORDERED.

Dated: April 4, 2023
       Albany, New York




                                             21
